Case 19-60945   Doc 14   Filed 05/17/19 Entered 05/17/19 17:39:26   Desc Main
                          Document     Page 1 of 12
Case 19-60945   Doc 14   Filed 05/17/19 Entered 05/17/19 17:39:26   Desc Main
                          Document     Page 2 of 12
Case 19-60945   Doc 14   Filed 05/17/19 Entered 05/17/19 17:39:26   Desc Main
                          Document     Page 3 of 12
Case 19-60945   Doc 14   Filed 05/17/19 Entered 05/17/19 17:39:26   Desc Main
                          Document     Page 4 of 12
Case 19-60945   Doc 14   Filed 05/17/19 Entered 05/17/19 17:39:26   Desc Main
                          Document     Page 5 of 12
Case 19-60945   Doc 14   Filed 05/17/19 Entered 05/17/19 17:39:26   Desc Main
                          Document     Page 6 of 12
Case 19-60945   Doc 14   Filed 05/17/19 Entered 05/17/19 17:39:26   Desc Main
                          Document     Page 7 of 12
Case 19-60945   Doc 14   Filed 05/17/19 Entered 05/17/19 17:39:26   Desc Main
                          Document     Page 8 of 12
Case 19-60945   Doc 14   Filed 05/17/19 Entered 05/17/19 17:39:26   Desc Main
                          Document     Page 9 of 12
Case 19-60945   Doc 14   Filed 05/17/19 Entered 05/17/19 17:39:26   Desc Main
                          Document     Page 10 of 12
Case 19-60945   Doc 14   Filed 05/17/19 Entered 05/17/19 17:39:26   Desc Main
                          Document     Page 11 of 12
Case 19-60945   Doc 14   Filed 05/17/19 Entered 05/17/19 17:39:26   Desc Main
                          Document     Page 12 of 12
